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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 1:25-cv-00107-PAB-KAS

MARI ROSENFELD, MAX ALEXANDER INMAN

       Plaintiffs,

v.

UNIVERSITY OF COLORADO, through the Board of Regents of the
University of Colorado, a body corporate; JUSTIN SCHWARTZ,
Chancellor of the University of Colorado Boulder, in his official capacity;
DEVIN CRAMER, Dean of Students and Associate Vice Chancellor for
Student Affairs of the University of Colorado Boulder, in his individual
capacity; HOLLY NELSON, Deputy Dean of Students and Assistant Vice
Chancellor of the University of Colorado Boulder, in her individual
capacity

       Defendants.

       DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED
          COMPLAINT (ECF #22) UNDER F.R.C.P. 12(B)(1) AND 12(B)(6)
       Defendants—the Board of Regents of the University of Colorado (the “University”);

Justin Schwartz in his official capacity; and Devin Cramer and Holly Nelson in their individual

capacities (the “Individual Defendants”)—move to dismiss Plaintiffs’ First Amended Complaint

(ECF #22).1

                                        BACKGROUND

       On October 3, 2024, Plaintiffs Mari Rosenfeld (a University student) and Max Alexander

Inman (a former University student), along with other students belonging to a group called

Students for Justice in Palestine (“SJP”), gathered to protest on campus. (ECF# 22, ¶¶ 3, 6, 7.)

Plaintiffs knew that on that day, the Glenn Miller Ballroom at the University Memorial Center



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  CONFERRAL STATEMENT: Per D.C.COLO.LCivR 7.1(a) and this Court’s practice
standards, undersigned Defendants’ counsel conferred with Plaintiffs’ counsel. Plaintiffs oppose.
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(“UMC”) had been reserved for “a formal event for students”—a science, technology,

engineering, and mathematics career fair—from 10:00 a.m. to 4:00 p.m. (Id. ¶¶ 59, 63, 67, 69.)

       At 11:00 a.m., Plaintiff Rosenfeld and other SJP members gathered at the UMC’s main

entrance to prepare for the protest. (Id. ¶¶ 66, 71.) SJP members continued to arrive and to add to

the number of protestors at the entrance. (Id. ¶¶ 74-76.) Around 11:30 a.m., the University’s

Student Engagement Response Team (“SERT”) asked protestors and counter-protestors to use

the nearby South Lawn for their protests, and the students moved into that area. (Id. ¶¶ 77, 79-

81.) While protesting on the South Lawn, Plaintiff Inman announced he was “going into the

career fair if you want to join me,” and then led protesters into the UMC towards the Glenn

Miller Ballroom where the career fair was being held. (Id. ¶¶ 91, 92, 94.) At the ballroom

entrance, career fair administrators asked protestors not to come in. (Id. ¶ 96.) Plaintiffs ignored

them and instead, led protestors around the administrators and inside, where hundreds of students

were meeting with recruiters. (Id. ¶¶ 97, 98, 99.) While inside, Plaintiff Inman used a bullhorn.

(Id. ¶ 100.) Students and recruiters could hear what Plaintiff Inman was saying, and one person

indicated the protesters should leave. (Id. ¶¶ 103-105.) An administrator next asked the protesters

to leave. (Id. ¶ 107.) After a law enforcement officer gave the protestors an order to leave the

ballroom, they left and resumed their protest outside on the South Lawn before deciding to end

it. (Id. ¶¶ 109, 112-113.)

       Because Plaintiffs “disrupt[ed] the career fair” and “use[d] amplified sound,” they had

violated University policies, were so notified, and were placed on a brief interim campus

exclusion. (Id. ¶¶ 115, 120.) Defendant Holly Nelson (the Deputy Dean of Students and

Assistant Vice Chancellor for Student Affairs) issued the interim exclusion preventing Plaintiffs

from being on campus—except for travelling to and from, and attending, classes—for less than




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two months. (Id. ¶¶ 11, 121, 146.) Defendant Devin Cramer (Dean of Students and Associate

Vice Chancellor for Student Affairs) filed a police report documenting the events, but the matter

was not pursued any further. (Id. ¶¶ 10, 141, 144.)

                                      LEGAL STANDARDS
   I.       Motions to Dismiss

         A motion to dismiss under Rule 12(b)(6) “tests the sufficiency of the allegations within

the four corners of the complaint after taking those allegations as true.” Mobley v. McCormick,

40 F.3d 337, 340 (10th Cir. 1994). To withstand such a motion, a complaint must contain enough

allegations of fact to nudge the plaintiff’s claims across the line from conceivable to plausible.

Khalik v. United Air Lines, 671 F.3d 1188, 1190 (10th Cir. 2012). The court “disregard[s]

conclusory statements and look[s] only to whether the remaining, factual allegations plausibly

suggest the defendant is liable.” Id. at 1191. “The mere metaphysical possibility that some

plaintiff could prove some set of facts in support of the pleaded claims is insufficient; the

complainant must give the court reason to believe that this plaintiff has a reasonable likelihood

of mustering factual support for these claims.” Ridge at Red Hawk, LLC v. Schneider, 493 F.3d

1174, 1177 (10th Cir. 2007).

         A motion to dismiss based on the court’s lack of subject matter jurisdiction is reviewed

under Fed. R. Civ. P. 12(b)(1). See Ruiz v. McDonnell, 299 F.3d 1173, 1180 (10th Cir. 2002).

   II.      Permissible Restrictions on Speech at University Campuses

         To be sure, “universities are not enclaves immune from the sweep of the First

Amendment.” Healy v. James, 408 U.S. 169, 180 (1972). But “conduct by the student, in class or

out of it, which for any reason—whether it stems from time, place, or type of behavior—

materially disrupts classwork or involves substantial disorder or invasion of the rights of others

is, of course, not immunized by the constitutional guarantee of freedom of speech.” Tinker v. Des



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Moines Indep. Cmty. Sch. Dist., 393 U.S. 503, 513 (1969). Thus, while universities may not take

action “because of the disapproved content” of student speech, universities do have a well-

established right to “exercise [their] legitimate authority to enforce reasonable regulations as to

the time, place, and manner of speech[.]” Papish v. Bd. of Curators of Univ. of Missouri, 410

U.S. 667, 670 (1973). “Associational activities need not be tolerated where they infringe

reasonable campus rules.” Healy, 408 U.S. at 189. “The constitutional right of freedom of speech

is the right to dissent, but it is not . . . the unqualified right to interfere with the rights and safety

of others.” Evans v. State Bd. of Agric., 325 F. Supp. 1353, 1360 (D. Colo. 1971).

    III.      Qualified Immunity Protects Individual Defendants
           “In suits brought against officials in their individual capacities, officials may raise the

defense of qualified immunity.” Stuart v. Jackson, 24 F. App’x 943, 955 (10th Cir. 2001).

“Qualified immunity shields public officials from “undue interference with their duties and from

potentially disabling threats of liability.’” Wilkins v. DeReyes, 528 F.3d 790, 796 (10th Cir.

2008) (citation omitted). Plaintiffs must plead facts that plausibly show (1) the defendant’s

actions violated a constitutional or statutory right, and (2) that this right was clearly established

at the time. Pierce v. Gilchrist, 359 F.3d 1279, 1284 (10th Cir. 2004). Plaintiffs must satisfy both

prongs, and the district court may “decide which of the two prongs of qualified-immunity

analysis to tackle first.” Ashcroft v. al-Kidd, 563 U.S. 731, 735 (2011). Plaintiffs’ “[f]ailure to

satisfy either of these inquiries will result in dismissal in favor of the defendant.” Pierce, 359

F.3d at 1284.

           “For the law to be ‘clearly established,’ there ordinarily must be a Supreme Court or

Tenth Circuit opinion on point, or the clearly established weight of authority from other circuits

must point in one direction.” Pompeo v. Bd. of Regents of the Univ. of New Mexico, 852 F.3d

973, 981 (10th Cir. 2017). A plaintiff “must do more than cite case law announcing a legal rule


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‘at a high level of generality.’” Yeasin v. Durham, 719 F. App’x 844, 849–50 (10th Cir. 2018)

(citation omitted). “The relevant case law must be particularized to the facts of the case currently

before the court.” Id. In short, every “reasonable official would have understood that what [they

are] doing violates that right” and “existing precedent [has] placed the statutory or constitutional

question beyond debate.” al-Kidd, 563 U.S. at 741 (citation and internal alterations omitted). At

bottom, qualified immunity protects “all but the plainly incompetent or those who knowingly

violate the law.” Yeasin, 719 F. App’x at 849 (citation omitted).

                                               ARGUMENT
       I.      The Court must dismiss Claim 1, “First Amendment Violation – Retaliation”
               against all Defendants for failure to state a claim, and as against Cramer and
               Nelson for the additional reason of qualified immunity.

       “In assessing First Amendment retaliation claims against defendants who are not an

employer of or a party to a contract with the plaintiff, proof of the following elements are

required: ‘(1) that the plaintiff was engaged in constitutionally protected activity; (2) that the

defendant’s actions caused the plaintiff to suffer an injury that would chill a person of ordinary

firmness from continuing to engage in that activity; and (3) that the defendant’s adverse action

was substantially motivated as a response to the plaintiff’s exercise of constitutionally protected

conduct.’” Jemaneh v. Univ. of Wyoming, 82 F. Supp. 3d 1281, 1293 (D. Colo.), aff’d, 622 F.

App’x 765 (10th Cir. 2015) (citation omitted).

       Here, the First Amended Complaint (“FAC”) lacks plausible allegations in support of

element two – that the University’s actions caused them to suffer an injury that would chill a

person of ordinary firmness from continuing to engage in that activity. Plaintiffs allege that

Defendants Nelson and Cramer unlawfully retaliated against them for protesting at the career fair

by excluding them from campus, apart from attending classes, for two months and by filing a

police report. (ECF #22, ¶ 158.) But neither the brief exclusion, nor the filing of the police report


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rise to a level of “injury that would chill a person of ordinary firmness” from engaging in speech.

Jemaneh, 82 F. Supp. 3d at 1293 (citation omitted). This standard is “objective” and “vigorous,”

and “is substantial enough that not all insults in public debate become actionable under the

Constitution.” Eaton v. Meneley, 379 F.3d 949, 956 (10th Cir. 2004).

       a. The limited exclusion from the campus

       Plaintiffs acknowledge that the limited interim exclusion was imposed due to the “serious

nature” of the disruption at the career fair, and not because of their protest in general. (Id., ¶¶

128-29.) The FAC alleges that interim exclusions are “seldom imposed” and that the notice of

exclusion “did not assert . . . that Plaintiffs posed any continuing threat.” (ECF #22, ¶¶ 124, 128.)

Plaintiffs also complain that no one at the University “advise[d] that protesting . . . would be

tolerated during the interim exclusion.” (Id. ¶ 136.) In other words, Plaintiffs allege that the

interim exclusion chilled their speech because they were not affirmatively told that they could

continue to engage in speech while they were on campus.

       But “[e]ven when [a] defendant’s actions make it more difficult to engage in protected

speech, courts routinely dismiss First Amendment retaliation claims when alternative avenues

remain open to engage in such speech.” Douglass v. Garden City Cmty. Coll., 652 F. Supp. 3d

1329, 1349 (D. Kan. 2023) (internal quotations omitted). And that’s the case here. The First

Amended Complaint admits the exclusion lasted less than two months, and that during that time,

Plaintiffs were permitted on campus to attend their classes. (ECF #22, ¶ 121.) The FAC does not

allege that the interim exclusion prohibited or attempted to prohibit Plaintiffs’ ability to speak on

any topics off-campus. (See id. ¶ 137 (alleging that campus exclusion prohibited Plaintiffs from

engaging in speech only “on campus and outside of the classroom”).) Nor did the interim

exclusion prohibit Plaintiffs’ ability to engage in numerous forms of speech on campus during




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the times they were there, such as chalking, holding signs, engaging in other speech on the way

to or from class, wearing clothing with protected messages, or engaging in speech with faculty or

other students right before, during, and after class. A short exclusion that nonetheless allows a

plaintiff to engage in various forms of speech on any protected topics of the plaintiff’s choosing,

doesn’t chill speech and isn’t an adverse action. See Pierce v. Chene, No. 1:15-CV-758 LF-

KBM, 2017 WL 3600458, at *9 (D.N.M. Feb. 1, 2017) (dismissing First Amendment retaliation

claim based on school campus ban because said ban would not chill a person of ordinary

firmness, where there were “no allegations in the amended complaint that the ban interfered with

the [student’s parents’] ability to communicate with the governing board, the school board, or

[the Public Education Department]” on the bullying allegations at issue); see also Smith v. Plati,

258 F.3d 1167, 1177 (10th Cir. 2001) (concluding that website operator’s ban from University

athletic practices “did not cause [plaintiff] to suffer an injury that would chill a person of

ordinary firmness from continuing to publish an internet site” because while the ban “may have

made it more difficult to obtain some information regarding the University’s varsity athletic

programs, . . . alternative avenues to information remained open”).

       b. Filing of the police report

       The mere filing of the report, which did not result in any charges or any other

consequences, is not an adverse action that gives rise to a plausible retaliation claim. See Dick v.

Phone Directories Co., 397 F.3d 1256, 1270 (10th Cir. 2005) (plaintiff’s coworkers’ complaint

to police about plaintiff, which resulted in police report but no charges, was not an adverse

employment action for purposes of plaintiff’s Title VII retaliation claim); Martley v. Basehor,

Kansas, City of, 537 F. Supp. 3d 1260, 1267 (D. Kan. 2021) (First Amendment retaliation claim,

premised on defendant’s request for criminal investigation into plaintiff, failed to state a claim).




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Even if the police report included inaccurate statements (see ECF #22, ¶ 131), that is not enough

either, because injury to reputation is not enough to have a chilling effect on Plaintiffs’ speech.

See Douglass, 652 F. Supp. 3d at 1349 (“[S]tatements concerning the illegality or impropriety of

a plaintiff’s conduct are insufficient, standing alone, to support a First Amendment retaliation

claim[.]”); see also How v. City of Baxter Springs, Kansas, 217 F. App’x 787, 798 (10th Cir.

2007) (statements about possible criminal charges insufficient to show injury for First

Amendment retaliation claim).

       c. Claim 1 against the Individual Defendants is also barred by qualified immunity

       Even if the campus exclusion or police report could sustain a retaliation claim, Claim 1

must still be dismissed against the Individual Defendants on the basis of qualified immunity.

First, there is no law clearly establishing that Plaintiffs have the right to disrupt scheduled

University events for other students without being disciplined. See Yeasin, 719 F. App’x at 851-

52 (no clearly established law precluding university official from expelling male student for

online posts where posts threatened to “disrupt [a female student’s] education and interfere with

her rights”; no Supreme Court case plaintiff identified concerned “university-student conduct

that interferes with the rights of other students or risks disrupting campus order”). Second, there

is no law clearly establishing that an interim campus exclusion which does not restrict speech is

an objectively chilling action – indeed, the little law available implies the opposite. See, e.g.,

Pierce, 2017 WL 3600458, at *9. And third, it is not clearly established that a plaintiff could

stake a First Amendment retaliation claim on the simple filing of a police report. See Lincoln v.

Maketa, 880 F.3d 533, 544 n. 5 (10th Cir. 2018) (characterizing a criminal investigation “as an

‘adverse employment action’ would not have been clearly established”); Martley, 537 F. Supp.




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3d at 1268 (“Lincoln plainly holds that a First Amendment retaliation claim based on the

instigation of a criminal investigation is not a clearly established constitutional issue.”).

       Consequently, the Court must dismiss Claim 1 against all Defendants for failure to state a

claim or at a minimum, dismiss it against Defendants Cramer and Nelson on qualified immunity

grounds.

       II.     The Court must dismiss Claim 2, “First Amendment Violation – Freedom of
               Speech and Assembly” (brought only against Defendants Cramer and
               Nelson) for failure to state a claim and for qualified immunity.

       Plaintiffs next claim that Defendants Nelson and Cramer’s “actions in indefinitely

excluding Plaintiffs from campus suppressed Plaintiff’s speech because they prohibited Plaintiffs

from engaging in First Amendment protected activity on campus,” and that they did so “based on

[the speech’s] content.” (ECF #22, ¶¶ 168-69.) Not so: the FAC lacks plausible allegations that

the University’s actions were based on the speech’s content.

       The FAC admits that Plaintiffs intended to protest at a career fair because the companies

at the fair had “links to the destruction of Gaza.” (ECF #22, ¶ 63.) It admits that the UMC Glen

Miller Ballroom and the South Terrace had been reserved for this career fair. (Id. ¶¶ 68-69.) It

admits that Plaintiffs and other protesters were directed to protest on the South Lawn, outside the

UMC, and admits that amplified sound, outdoors, at noon, was permitted. (Id. ¶¶ 77, 79, 88.) It

admits that directly contrary to these instructions, Plaintiffs left the South Lawn and entered the

career fair with a bullhorn, walking around University administrators who were trying to keep

the protesters out of the fair. (Id. ¶¶ 91-92, 96-97.) And, while parts of the UMC are generally

accessible to students and the public (id. ¶¶ 52, 95), the FAC acknowledges that the career fair

was not such a publicly accessible or open event, as it was held behind closed doors or barriers

and not all students could attend (id. ¶¶ 68, 96). Plaintiffs’ actions in coming into the room and




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using a bullhorn indoors disrupted the career fair and interfered with the student attendees’

ability to interact with the potential employers. (Id. ¶ 103-110.) These actions, which were in

violation of University policy, were the basis for the interim exclusion. (Id. ¶¶ 120, 131.)

       Accordingly, Plaintiffs admit that the interim exclusion was based on their actions of

disrupting the career fair and was not because of the content of their speech. See Buttny v.

Smiley, 281 F. Supp. 280, 286 (D. Colo. 1968) (concluding that discipline for plaintiffs who had

disrupted job interviews for positions with the CIA did not have “chilling” effect on freedom of

speech because “Plaintiffs engaged in overt physical acts which effectively interfered with one of

the normal activities of the University, namely interviewing students for employment” and

“[w]hat [the plaintiffs] said on the occasion in question is not the basis for the disciplinary

proceedings; it is what they did”). And as discussed supra, nothing in the interim campus

exclusion notice referred to, or limited, speech – only physical access to locations.

       Plaintiffs include several conclusory allegations that the purpose of the exclusion was “to

prevent, or at least discourage, further disfavored speech by Plaintiffs” and “was not imposed to

serve any legitimate disciplinary objective contemplated by Section L(2) of the Student Code of

Conduct.” (ECF #22, ¶¶ 138-39.) But such conclusory allegations are not required to be taken as

true, and when considered in the context of the admitted behavior and disturbances above, should

be given no weight. Khalik v. United Air Lines, 671 F.3d 1188, 1191 (10th Cir. 2012) (“[I]n

examining a complaint under Rule 12(b)(6), we will disregard conclusory statements and look

only to whether the remaining, factual allegations plausibly suggest the defendant is liable.”). In

the end, “[j]ust as in the community at large, reasonable regulations with respect to the time, the

place, and the manner in which student groups conduct their speech-related activities must be

respected.” Healy, 408 U.S. at 192–93.




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       Besides, Cramer and Nelson are again entitled to qualified immunity. To overcome

qualified immunity, Plaintiffs must show that the Individual Defendants’ actions “had a

deterrent, or ‘chilling’ effect on [their] speech.” Eaton, 379 F.3d at 954. But as discussed above,

the interim campus exclusion did not have any chilling effect, because Plaintiffs could still

engage in speech on any topic off campus or during the times they were on campus. Moreover,

there is no weight of authority such that the Individual Defendants would have clearly known

that an interim campus exclusion is a “chilling” action. Pierce, 2017 WL 3600458, at *9.

       III.    The Court must dismiss Claim 3 “Fourteenth Amendment Violation - Due
               Process” (brought against Cramer and Nelson only) for failure to state a
               claim and due to qualified immunity.

       To assess an alleged procedural due process violation, the court “engage[s] in a two-step

inquiry: (1) did the individual possess a protected interest such that the due process protections

were applicable; and, if so, then (2) was the individual afforded an appropriate level of process.”

Rooker v. Ouray Cty., 504 F. App’x 734, 736 (10th Cir. 2012) (citation omitted). Plaintiffs’ due

process claim fails at the first step: they have not alleged a constitutionally protected interest at

issue here, and even if they have, such interest is not clearly established and so qualified

immunity bars the claim.

       The “requirements of procedural due process apply only to the deprivation of interests

encompassed by the Fourteenth Amendment’s protection of liberty and property.” Darr v. Town

of Telluride, 495 F.3d 1243, 1251 (10th Cir. 2007) (citation omitted). So, Plaintiffs must have a

protected right at stake before the due process clause is applicable at all. West v. Atkins, 487 U.S.

42, 48 (1988) (“To state a claim under § 1983, a plaintiff must allege the violation of a right

secured by the Constitution and laws of the United States[.]”).




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       Here, Plaintiffs seem to be alleging that they have some sort of statutorily protected right

“to exercise their freedom of speech on the campuses of public institutions of higher education,”

which in turn creates “a liberty and/or property interest,” which was then infringed by their

campus exclusion. (ECF #22, ¶¶ 176-79.) First, this attempts to bootstrap a First Amendment

free speech claim (Plaintiffs’ Claim 2) into a Fourteenth Amendment due process claim.

Plaintiffs have, in essence, tried to allege that their campus exclusion violated their First

Amendment rights, and that this exclusion also violated their due process rights because they

have a right to free speech. Such circular and confusing allegations don’t state a claim. See Cnty.

of Sacramento v. Lewis, 523 U.S. 833, 842 (1998) (“Where a particular Amendment provides an

explicit textual source of constitutional protection against a particular sort of government

behavior, that Amendment, not the more generalized notion of . . . due process, must be the

guide for analyzing these claims.”). Accordingly, to the extent that Plaintiffs’ due process

allegations are duplicative of Claims 1 or 2, they are subsumed into the analysis above.

       Second, a liberty interest isn’t implicated here. “There are two elements of a stigma-plus

claim: (1) governmental defamation and (2) an alteration in legal status. When these two

elements are present, the government may have violated a liberty interest that triggers a

procedural due process protection.” Guttman v. Khalsa, 669 F.3d 1101, 1125 (10th Cir. 2012).

Here, Plaintiffs’ alleged injury – an interim exclusion from campus – does not implicate either

element. Quite simply, their allegations of a deprivation of a “liberty interest” are off the mark.

       Third, there is no property interest in unfettered access to campus. See Widmar v.

Vincent, 454 U.S. 263, 268 n.5 (1981) (“We have not held . . . that a campus must make all of its

facilities equally available to students and nonstudents alike, or that a university must grant free

access to all of its grounds or buildings.”); Souders v. Lucero, 196 F.3d 1040, 1044 (9th Cir.




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1999), cert. denied, 529 U.S. 1067 (2000) (affirming dismissal of due process claim because

public university alumnus had no constitutionally protected interest in being on campus); Duckett

v. Oklahoma ex rel. Bd. of Regents of Univ. of Oklahoma, 986 F. Supp. 2d 1249, 1257 (W.D.

Okla. 2013) (“Plaintiff does not identify any independent source of entitlement as a tenured

professor to particular duties or unfettered access to campus grounds or facilities.”). Indeed, a

court in this district has addressed a similar due process claim based on a campus exclusion, and

concluded that the plaintiff “failed to show a clearly established protected liberty or property

interest in accessing the medical school campus.” Profita v. Puckett, No. 1:15-cv-01237-DME-

CBS, 2017 WL 4225451, at *6 (D. Colo. June 6, 2017).2

       At bottom, nothing in the Complaint states that Plaintiffs have been deprived of a

constitutionally protected interest without due process of law. Consequently, Plaintiffs fail to

state a claim and the Court must dismiss Claim 3.

       Regardless, Cramer and Nelson are entitled to qualified immunity. Even if the Court were

inclined to agree that Plaintiffs had suffered some sort of constitutional deprivation, none of their

alleged injuries are “clearly established.” There is no “weight of authority” that Plaintiffs have a

constitutionally protected interest in the right to access campus outside of attending class. See

Profita, 2017 WL 4225451, at *5 (granting qualified immunity in part because the law was not

“clearly established” that plaintiff had an unfettered right to campus). Without such law,

Plaintiffs’ due process claim is foreclosed.




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  True, the Colorado supreme court has stated that “a non-student’s right to access to University
functions and facilities, which are open to the public at-large, cannot be permanently denied
without due process of law.” Watson v. Bd. of Regents of Univ. of Colo., 512 P.2d 1162, 1165
(Colo. 1973). But such decision is not analogous to the situation here: (1) Plaintiffs were not
“permanently denied” access to campus (ECF #22, ¶ 146); and (2) the exclusion was not total, as
Plaintiffs were permitted to enter campus to attend classes (id. ¶ 121).


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       IV.     The Court must also dismiss Claims 4 and 5: the University is immune and
               the Court lacks subject-matter jurisdiction over them.

       Finally, Plaintiffs allege that the University has violated C.R.S. § 23-5-144, which they

allege protects their actions here (ECF #22, ¶¶ 182-192); and has breached a contract by

depriving them of access to facilities for which they paid, (id., ¶¶ 197-98.) But “absent a state’s

consent, the Eleventh Amendment prohibits a federal court from adjudicating state-law claims

against a state.” Doe v. Univ. of Colorado, Boulder through Bd. of Regents of Univ. of Colorado,

255 F. Supp. 3d 1064, 1086 (D. Colo. 2017). “This is so even where a federal-law claim might

otherwise allow for supplemental jurisdiction over a state-law claim.” Id. Here, the University is

an arm of the state, has not waived its immunity, nor has it consented to be sued. Thus, the

University is immune to Plaintiffs’ claims under C.R.S. § 23-5-144 and for breach of contract,

and both must be dismissed per F.R.C.P. 12(b)(1) for lack of subject matter jurisdiction. Norris

v. Univ. of Colo., Boulder, 362 F. Supp. 3d 1001, 1021 (D. Colo. 2019).

       Moreover, because Plaintiffs have failed to state any of the federal claims above, the

Court should, after dismissing Claims 1-3 above, decline to exercise supplemental jurisdiction

over and dismiss these two state claims.

                                             CONCLUSION
       Defendants respectfully request that the Court dismiss all claims against them with

prejudice and grant such other relief as the Court deems just.

DATED: May 6, 2025.


                                                      Respectfully submitted:

                                                      s/ Megan Clark
                                                      Megan Clark
                                                      Senior Assistant University Counsel
                                                      Special Assistant Attorney General
                                                      Office of University Counsel


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                               CERTIFICATE OF SERVICE

       I hereby certify that on May 6, 2025, I electronically filed the foregoing with the Court’s

electronic filing system (CM/ECF) which will automatically cause notification to be sent to the

following counsel of record:

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